Case 0:21-cv-62429-WPD Document 1-1 Entered on FLSD Docket 12/01/2021 Page 1 of 24




                    COMPOSITE EXHIBIT 1
       Case
12/1/21,       0:21-cv-62429-WPD
         10:50 AM                          Document Case
                                                    1-1 Detail
                                                         Entered
                                                               - Public -on  FLSD
                                                                          Broward    Docket
                                                                                  County Clerk of12/01/2021
                                                                                                 Courts     Page 2 of 24

   Monarch Air Group, LLC , et al Plaintiff vs. JPMorgan Chase Bank, N.A. Defendant


       Broward County Case Number: CACE21019694
       State Reporting Number: 062021CA019694AXXXCE
       Court Type: Civil
       Case Type: Other - Libel/Slander
       Incident Date: N/A
       Filing Date: 10/29/2021
       Court Location: Central Courthouse
       Case Status: Pending
       Magistrate Id / Name: N/A
       Judge ID / Name: 05 Bidwill, Martin J.




                                                                                                                      Total: 3
     −     Party(ies)


                                                                                      Attorneys / Address
         Party Type        Party Name                                 Address         Denotes Lead Attorney


         Plaintiff         Monarch Air Group, LLC                                                Kon, Joshua
                                                                                                  Retained
                           Doing Business As                                                   Bar ID: 0056147
                           Mercury Jets                                                    One E Broward BLVD
                                                                                                   STE 915
                                                                                          Fort Lauderdale, FL 33301
                                                                                               Status: Active



         Defendant         JPMorgan Chase Bank, N.A.                                         Byrne, John Richard
                                                                                                 Retained
                                                                                               Bar ID: 126294
                                                                                              Leon Cosgrove
                                                                                          255 Alhambra Cir Ste 800
                                                                                           Coral Gables, FL 33134
                                                                                              Status: Active



         Plaintiff         Gitman, David                                                         Kon, Joshua
                                                                                                  Retained
                                                                                               Bar ID: 0056147
                                                                                           One E Broward BLVD
                                                                                                   STE 915
                                                                                          Fort Lauderdale, FL 33301
                                                                                               Status: Active




https://www.browardclerk.org/Web2/CaseSearchECA/CaseDetail/?caseid=MTE0MDMwNzI%3d-KgiVc%2bLJMFM%3d&caseNum=CACE21019694&c…       1/3
       Case
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                                                                       Broward    Docket
                                                                               County Clerk of12/01/2021
                                                                                              Courts     Page 3 of 24
                                                                                                                    Total: 0
     −    Disposition(s)


         Date                         Statistical Closure(s)


         Date                Disposition(s)                             View                 Page(s)




                                                                                                                    Total: 8
     −    Event(s) & Document(s)



         Date          Description                                     Additional Text                  View    Pages


         11/22/2021    Order Extending Time
                                                                                                               2


         11/19/2021    Motion for Enlargement of Time
                                                                                                               3
                                                                       Party: Defendant JPMorgan
                                                                       Chase Bank, N.A.


         11/18/2021    Notice of Appearance
                                                                                                               2
                                                                       Party: Defendant JPMorgan
                                                                       Chase Bank, N.A.


         11/01/2021    Clerk's Certificate of Compliance W-2020-       NONE
                                                                                                               1
                       73CIV/2020-74-UFC

         11/01/2021    eSummons Issuance                               JPMORGAN CHASE BANK,
                                                                                                               2
                                                                       N.A

         10/29/2021    Per AOSC20-23 Amd12, Case is determined
                       General

         10/29/2021    Civil Cover Sheet
                                                                                                               3

                                                                       Amount: $30,001.00


         10/29/2021    Complaint (eFiled)
                                                                                                               7
                                                                       Party: Plaintiff Monarch Air
                                                                       Group, LLC Plaintiff Gitman,
                                                                       David




                                                                                                                    Total: 0
     −    Hearing(s)

     There is no Disposition information available for this case.




https://www.browardclerk.org/Web2/CaseSearchECA/CaseDetail/?caseid=MTE0MDMwNzI%3d-KgiVc%2bLJMFM%3d&caseNum=CACE21019694&c…     2/3
       Case
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                                                           - Public -on  FLSD
                                                                      Broward    Docket
                                                                              County Clerk of12/01/2021
                                                                                             Courts     Page 4 of 24
                                                                                                                   Total: 0
     −   Related Case(s)

     There is no related case information available for this case.




https://www.browardclerk.org/Web2/CaseSearchECA/CaseDetail/?caseid=MTE0MDMwNzI%3d-KgiVc%2bLJMFM%3d&caseNum=CACE21019694&c…    3/3
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